   Case 2:10-cr-00186-MHT-WC Document 2387 Filed 02/29/12 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JARRELL W. WALKER, JR.             )         (WO)


                                ORDER

    It is ORDERED that defendant Jarrell W. Walker, Jr.’s

motion for judgment of acquittal (Doc. No. 2369) is

denied.

    DONE, this the 29th day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
